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                   Exhibit 19J
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APPEAL PANEL TRAINING

   DEEPWATER HORIZON
  ECONOMIC SETTLEMENT


                    August 20, 2012

                                                                           1
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                                              General BEL

                 1) Calculated for both Benchmark and Compensation
 Variable           Periods
  Profit         2) Sum of monthly revenue minus variable expenses
                    from revenue over the same time period


                 1) Calculated only for the Benchmark Period
                 2) Step 1: Sum Variable Profit from Benchmark Period
 Variable        3) Step 2: Sum Total Revenue from Benchmark Period
 Margin          4) Step 3: Variable Margin = % as Variable Profit calculated
                    in Step 1 divided by total revenue calculated in Step 2



                   Claimant’s revenue in a claimant-selected period of six,
Incremental        seven or eight consecutive months from Benchmark
  Revenue          Period multiplied by Claimant-Specific Factor and
                   General Adjustment Factor
                                                                                2
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                                                     General BEL

                           LOSS CALCULATION
             Calculate the difference in Variable Profit between the
  Step 1     Compensation Period and the Variable Profit over the same
             months of the Benchmark Period
             Calculate Claimant-Specific Factor and Incremental Revenue.
  Step 2     Multiply Incremental Revenue by Variable Margin in the
             Benchmark Period
  Step 3     Add Step 1 to Step 2 to get Lost Variable Profits

             Apply RTP, which varies depending on nature of claimant’s
  Step 4     business and Zone where business is located (See Exhibit 15)

 Multi-   1. Separate claims – Apply RTP separately to each claiming
             Facility
 Facility 2. Consolidated claim – RTP applied to Headquarters for entire
Businesses claim                                                      3
